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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


UNITED STATES OF AMERICA,                            CR 22–23–M–DLC

              Plaintiff,

       vs.                                                 ORDER

DEVA CRYSTAL HARTSOE,

              Defendant.


      Before the Court is Defendant Deva Crystal Hartsoe’s Unopposed Motion to

Continue Sentencing Hearing. (Doc. 54.) The motion requests a continuance of

the sentencing hearing set for November 22, 2022 because Ms. Hartsoe’s counsel

will be out of state from November 22 through November 29, 2022. (Id. at 1.)

The motion expressly states that it does not request a continuance of any other

dates or deadlines in the Court’s prior scheduling order. (Id. at 2.) The United

States does not oppose. (Id.)

      Accordingly, IT IS ORDERED that the motion (Doc. 54) is GRANTED.

The sentencing hearing set for November 22, 2022 is VACATED and RESET for

December 8, 2022 at 1:30 p.m. at the Russell Smith Federal Courthouse in

Missoula, Montana.

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      The Court’s prior scheduling order (Doc. 53) otherwise remains in full force

and effect.

      DATED this 16th day of August, 2022.




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